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 6
     L. Ray Harmon

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   L. Ray Harmon,                                   Case No. 2:20-cv-8909
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Nu-Way Car Wash; Edward Mnoian; April
     L. Mnoian and Does 1-10, inclusive,
16

17                    Defendants.
18

19         Plaintiff, L. Ray Harmon, hereby complains and alleges as follows:
20

21                                 NATURE OF THE ACTION
22                1. This is an action seeking to remedy unlawful discrimination by
23   the Defendants against the Plaintiff in the Defendants’ places of public
24   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
25
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
26
     § 51, et seq.] (the “Unruh Act”).
27

28                                          -1-
                                          COMPLAINT
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 1
                                           PARTIES
 2                2. Plaintiff, L. Ray Harmon, is a resident of the state of California
 3   who requires the use of a wheelchair for mobility purposes and who is therefore a
 4   “person with a disability” within the meaning of the ADA and Cal. Government
 5   Code § 12926.
 6                3. The Defendants (defined below) discriminated against
 7
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
 9
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
10
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                  4. The Defendant’s failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                5. Defendant, Nu-Way Car Wash, owns, operates, or leases
19   real property located at 145 W. Duarte Rd., Monrovia, CA 91016, also known as
20   Los Angeles County Assessor’s Parcel No. 8507-003-093(the “Subject Property”).
21
                  6. Defendant, Edward Mnoian, owns, operates, or leases
22
     real property located at 145 W. Duarte Rd., Monrovia, CA 91016, also known as
23
     Los Angeles County Assessor’s Parcel No. 8507-003-093(the “Subject Property”).
24
                  7. Defendant, April L. Mnoian, owns, operates, or leases
25
     real property located at 145 W. Duarte Rd., Monrovia, CA 91016, also known as
26
     Los Angeles County Assessor’s Parcel No. 8507-003-093(the “Subject Property”).
27

28                                            -2-
                                            COMPLAINT
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 1
                   8. The Subject Property is a commercial facility open to the general
 2   public, is a public accommodation, and is a business establishment insofar as
 3   goods and/or services are made available to the general public thereat. Defendant
 4   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 5   names and capacities are unknown to the Plaintiff. When their true names and
 6   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 7
     true names and capacities herein. Plaintiff is informed and believes and thereon
 8
     alleges that each of the fictitiously named Defendants are responsible in some
 9
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
10
     alleged were proximately caused by those Defendants.
11

12
                                JURISDICTION AND VENUE
13

14
                   9.   This Court has jurisdiction over the subject matter of this action

15   pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
16   violations of the ADA.
17                 10. This Court has supplemental jurisdiction over the state law
18   claims alleged herein under the Unruh Act because the state law claim is an
19   attendant and related cause of action that arises from the same nucleus of operative
20   facts and arising out of the same transaction or occurrence as the federal law
21
     claims set forth herein.
22
                   11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
23
     based on the fact that the real property that is the subject of this action is located in
24
     this district and the Plaintiff’s causes of action arose in this district.
25

26

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28                                             -3-
                                             COMPLAINT
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 1
                                 STATEMENT OF FACTS
 2                12. Parking spaces, accessible aisles, paths of travel, signage,
 3   doorways, service counters, customer areas and goods/services are among the
 4   facilities, privileges and advantages offered by the Defendants to patrons of the
 5   Subject Property.
 6                13.    The Subject Property does not comply with the minimum
 7
     requirements of the ADA and is therefore not equally accessible to Plaintiff or
 8
     similarly situated persons with mobility disabilities.
 9
                  14.    In June, 2020 and continuously from that time to the
10
     Present, and currently, the Subject Property has not been in compliance with the
11
     ADA (the “Barriers”):
12
                         A.    The Subject Property lacks the minimum required
13

14
     number of ADA compliant accessible parking spaces.

15                       B.    There was no diagonal striped marking and no blue
16   border around where an access aisle is supposed to exist adjacent to any designated
17   accessible parking space(s) serving the Subject Property.
18                       C.    The designated “accessible” parking space(s) and/or blue
19   striped access aisles provided at the Subject Property are smaller than permitted by
20   the ADA.
21
                         D.    The designated “accessible” parking spaces at the Subject
22
     Property do not provide accessible parking signage as required by the ADA.
23
     Among other things, they fail toprovide tow-away signage and “Minimum Fine
24
     $250” signage as required by the ADA and state law to beposted near the
25
     designated accessible parking space(s).
26

27

28                                           -4-
                                           COMPLAINT
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 1
                         E.    The designated “accessible” parking spaces at the Subject
 2   Property do not provide the universal symbol of accessibility.
 3                       F.    There is no twelve-inch high “NO PARKING” lettering
 4   on the blue-striped parking accessaisle(s) serving the Subject Property.
 5                       G.    There was no designated “van accessible” parking space
 6   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 7
     going forward into the parking space and no sign or additional language stating
 8
     “Van Accessible” below the symbol of accessibility located in a manner that is not
 9
     obstructed.
10
                         H.    There were no accessible paths of travel from public
11
     transportations stops, accessible parking, public streets and sidewalks to the
12
     building entrances serving the Subject Property.
13

14
                         I.    The service counters, point of sale machines and/or self-

15   serve equipment serving the Subject Property are not within an operable reach
16   range.
17                 15.   Plaintiff personally encountered one or more of the Barriers
18   at the Subject Property in June, 2020.
19                 16.   From June, 2020 to the present, the Plaintiff has been
20   deterred from the Subject Property because of his knowledge of the existence of
21
     Barriers.
22
                   17.   The existence of Barriers, the implementation of discriminatory
23
     policies, practices and procedures, and other ADA violations at the Subject
24
     Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
25
     dissuaded or deterred Plaintiff from accessing the Subject Property on particular
26
     occasions between June, 2020 and the present.
27

28                                           -5-
                                           COMPLAINT
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 1
                  18.    Plaintiff would like to return and patronize the Subject Property
 2   and use the business establishments thereat and intends to do so in the near future
 3   but will be deterred from doing so until all ADA violations are remediated.
 4                19.    On information and belief, the remediation of violations
 5   identified hereinabove, to be identified by the Defendants in discovery, and to be
 6   discovered by Plaintiff’s experts are all readily achievable in that the removal of
 7
     them by the Defendants is and has been easily accomplishable without much
 8
     difficulty or expense.
 9
                  20.    Defendants violated the ADA by failing to remove all mobility-
10
     related architectural barriers at the Subject Property. On information and belief,
11
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
12
     intentional because the barriers described herein are clearly visible and tend to be
13

14
     obvious even to a casual observer and because the Defendants operate the Subject

15   Property and have control over conditions thereat and as such they have, and have
16   had, the means and ability to make the necessary remediation of access barriers if
17   they had ever so intended.
18                21.    On information and belief, access barriers at the Subject
19   Property are being consciously ignored by the Defendants; the Defendants have
20   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
21
     the ADA. Plaintiff further alleges on information and belief that there are other
22
     ADA violations and unlawful architectural barriers at the Subject Property that
23
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
24
     remediation of which is required under the ADA.
25
                  22.    Plaintiff hereby seeks to remediate and remove all barriers
26

27

28                                            -6-
                                            COMPLAINT
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 1
     related to his disability, whether presently known or unknown. As the court held
 2   in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
 3         “[W]here a disabled person has Article III standing to bring a claim for
           injunctive relief under the ADA because of at least one alleged statutory
 4
           violation of which he or she has knowledge and which deters access to, or
 5         full use and enjoyment of, a place of public accommodation, he or she may
 6         conduct discovery to determine what, if any, other barriers affecting his or
           her disability existed at the time he or she brought the claim. This list of
 7
           barriers would then in total constitute the factual underpinnings of a single
 8         legal injury, namely, the failure to remove architectural barriers in violation
           of the ADA, which failure actually harmed the disabled person by deterring
 9
           that disabled person from visiting a facility that otherwise would have been
10         visited at a definite future time, yielding Article III standing.”
11
                  23.    Even if strictly compliant barrier removal were determined to
12
     be structurally or otherwise impracticable, there are many alternative methods of
13

14
     providing accommodations that are readily apparent and that could provide a

15   greater degree of accessibility to the Plaintiff and similarly situated persons but for
16   the Defendants’ discriminatory policies, practices and procedures and Defendants’
17   conscious indifference to their legal obligations and to the rights of persons with
18   mobility disabilities. Defendants’ failure to implement reasonable available
19   alternative methods of providing access violates the ADA [42 U.S.C. §
20   12182(b)(2)(A)(v)].
21
                  24.    The violations and references to code sections herein are not
22
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
23
     of the full scope of ADA violations after conducting a comprehensive expert site
24
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
25
     asserts that the barriers alleged herein violate one or more of the ADA’s
26
     implementing regulations. The Defendants have maintained and continue to
27

28                                           -7-
                                           COMPLAINT
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 1
     maintain discriminatory policies, procedures and practices that disregard their
 2   obligations under the ADA by allocating resources for physical improvements to
 3   the Subject Property that were did not provide legally required accessibility
 4   improvements, by failing to conduct ADA self-inspections or create ADA
 5   compliance plans regarding the Subject Property, by causing alterations to be made
 6   to the Subject Property in disregard of ADA requirements, and for failing and
 7
     refusing to make necessary accommodations for persons with mobility disabilities
 8
     at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
 9
     rights compliance policies, procedures and practices are discriminatory and violate
10
     the ADA.
11
                               FIRST CAUSE OF ACTION
12
                              Discrimination Based on Disability
13                               [42 U.S.C. §§ 12101, et seq.]
14
                              By Plaintiff against all Defendants

15
                  25.    Plaintiff re-alleges and incorporates by reference as though
16
     fully set forth herein the allegations contained in all prior paragraphs of this
17
     complaint.
18

19
                  26.    The ADA obligates owners, operators, lessees and lessors of
20   public accommodations to ensure that the privileges, advantages, accommodations,
21   facilities, goods and services are offered fully and equally to persons with
22   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
23   12182(a)].
24                27.    Discrimination is defined in the ADA, inter alia, as follows:
25
                         A.     A failure to remove architectural barriers where such
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28                                            -8-
                                            COMPLAINT
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 1
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 2   barriers are identified and described in the Americans with Disabilities Act
 3   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
 4                       B.    A failure to make alterations in such a manner that, to the
 5   maximum extent feasible, the altered portions of the facility are readily accessible
 6   to and usable by individuals with disabilities, including individuals who use
 7
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
 8
     the altered area and the bathrooms, telephones, and drinking fountains serving the
 9
     altered area, are readily accessible to and usable by individuals with disabilities [42
10
     U.S.C. § 12183(a)(2)].
11
                         C.    Where an entity can demonstrate that the removal of a
12
     barrier is not readily achievable, a failure to make such goods, services, facilities,
13

14
     privileges, advantages, or accommodations available through alternative methods

15   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
16                       D.    A failure to make reasonable modifications in
17   policies, practices, or procedures, when such modifications are necessary to afford
18   such goods, services, facilities, privileges, advantages, or accommodations to
19   individuals with disabilities, unless the entity can demonstrate that making such
20   modifications would fundamentally alter the nature of such goods, services,
21
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
22
     12182(b)(2)(A)(ii)].
23
                  28.    The ADA, the ADAAG’s 1991 Standards (the “1991
24
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
25
     Building Code (the “CBC”) contain minimum standards that constitute legal
26

27

28                                           -9-
                                           COMPLAINT
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 1
     requirements regarding wheelchair accessibility at places of public
 2   accommodation:
 3                      A.    If parking spaces are provided for self-parking by
 4   employees or visitors, or both, then the subject property must provide at least the
 5   minimum required number of accessible parking spaces.Accessible parking
 6   spaces must be marked to define their width and must have an adjacent ADA
 7
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 8
     and van parking spaces must be at least 132 inches wide except that van parking
 9
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
10
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
11
     Subject Property does not comply with the ADA.
12
                        B.    To qualify as a reserved handicap parking space, the
13

14
     space must be properly marked and designated. Under the ADA, the method,

15   color of marking and length of the parking space are to be addressed by state or
16   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
17   and 503].
18                      C.    To properly and effectively reserve a parking space for
19   persons with disabilities, each parking space must be at least 216 inches in length
20   [CBC § 11B-502.2].
21
                        D.    Each parking space reserved for persons with disabilities
22
     shall be identified by a reflectorized sign permanently posted immediately
23
     adjacent to and visible from each stall or space, consisting of the International
24
     Symbol of Accessibility in white on a dark blue background. The sign shall not be
25
     smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
26
     shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
27

28                                          -10-
                                          COMPLAINT
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 1
     the sign to the parking space finished grade. Signs may also be centered on the
 2   wall at the interior end of the parking space. An additional sign or additional
 3   language below the symbol of accessibility shall state "Minimum Fine $250"
 4   [2010 Standards § 502.6; CBC § 1129B.4].
 5                     E.     Signs identifying accessible parking spacesmust include
 6   the International Symbol of Accessibility [2010 Standards §§ 502.6].
 7
                       F.     To properly and effectively reserve a parking space for
 8
     persons with disabilities, the surface of the access aisle must have a blue
 9
     border; the words “NO PARKING” in letters at least a foot high must be
10
     painted on the access aisle [CBC § 1129B.3].
11
                       G.     One in every eight accessible spaces, but not less than
12
     one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
13

14
     wide minimum placed on the side opposite the driver’s side when the vehicle is

15   going forward into the parking space and shall be designated van accessible. Van
16   accessible spaces must have an additional sign or additional language stating "Van
17   Accessible" below the symbol of accessibility. Signs identifying accessible
18   parking spaces must be located so they cannot be obscured by a vehicle parked in
19   the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
20   and B4].
21
                       H.     At least one accessible route must be provided from
22
     public transportation stops, accessible parking, and accessible passenger
23
     loading zones, and public streets or sidewalks to the accessible building
24
     entrance they serve. The accessible route must, to the maximum extent
25
     feasible, coincide with the route for the general public, must connect
26
     accessible buildings, facilities, elements, and spaces that are on the same
27

28                                          -11-
                                          COMPLAINT
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 1
     site, and at least one accessible route must connect accessible building or
 2   facility entrances with all accessible spaces and elements and with all
 3   accessible dwelling units within the building or facility [1991 Standards
 4   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 5                       I.     In public accommodations where counters have cash
 6   registers or are provided for sales or distribution of goods or services to the public,
 7
     at least one of each type of counter must have a portion that is at least 36 in
 8
     (915mm) in length with a maximum height of 36 in (915 mm) above the finished
 9
     floor. The checkout counter surface height can be no more than 38 inches
10
     maximum above the finished floor or ground. The top of the counter edge
11
     protection can be up to 2 inches above the top of the counter surface on the
12
     aisle side of the checkout counter. Clear floor space that allows a forward
13

14
     or parallel approach by a person using a wheelchair must be provided at

15   controls, dispensers, receptacles and other operable equipment [1991
16   Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
17   904.3.3].
18                29.    The Defendants have failed to comply with minimum
19   ADA standards and have discriminated against Plaintiff on the basis of
20   Plaintiff’s mobility disability. Each of the barriers and accessibility
21
     violations set forth above is readily achievable to remove, is the result of an
22
     alteration that was completed without meeting minimum ADA standards,
23
     or could be easily remediated by implementation of one or more available
24
     alternative accommodations. Accordingly, the Defendants have violated
25
     the ADA.
26
                  30.    The Defendants are obligated to maintain in operable
27

28                                            -12-
                                            COMPLAINT
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 1
     working condition those features of the Subject Property’s facilities and
 2   equipment that are required to be readily accessible to and usable by
 3   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 4   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 5   Subject Property were available and ready to be used by the Plaintiff
 6   violates the ADA.
 7
                 31.    The Defendants have a duty to remove architectural
 8
     barriers where readily achievable, to make alterations that are consistent
 9
     with minimum ADA standards and to provide alternative accommodations
10
     where necessary to provide wheelchair access. The Defendants benign
11
     neglect of these duties, together with their general apathy and indifference
12
     towards persons with disabilities, violates the ADA.
13

14
                 32.    The Defendants have an obligation to maintain policies,

15   practices and procedures that do not discriminate against the Plaintiff and
16   similarly situated persons with mobility disabilities on the basis of their
17   disabilities. The Defendants have maintained and continue to maintain a policy of
18   disregarding their obligations under the ADA, of allocating resources for
19   improvements insufficient to satisfy legal requirements regarding accessibility
20   improvements, of failing to conduct ADA self-inspections or create ADA
21
     compliance plans, of causing alterations to be made to the Subject Property in
22
     disregard of ADA requirements, and of failing and refusing to make necessary
23
     accommodations for persons with mobility disabilities at the Subject Property, in
24
     violation of the ADA.
25
                 33.    The Defendants wrongful conduct is continuing in that
26

27

28                                          -13-
                                          COMPLAINT
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 1
     Defendants continue to deny full, fair and equal access to their business
 2   establishment and full, fair and equal accommodations, advantages,
 3   facilities, privileges and services to Plaintiff as a disabled person due to
 4   Plaintiff’s disability. The foregoing conduct constitutes unlawful
 5   discrimination against the Plaintiff and other mobility disabled persons
 6   who, like the Plaintiff, will benefit from an order that the Defendants
 7
     remove barriers and improve access by complying with minimum ADA
 8
     standards.
 9
                              SECOND CAUSE OF ACTION
10                            Violations of the Unruh Rights Act
11                              [Cal.Civil Code§ 51, et seq.]
                              By Plaintiff against all Defendants
12

13
                  34.    Plaintiff re-alleges and incorporates by reference as though
14
     fully set forth herein the allegations contained in all prior paragraphs of this
15
     complaint.
16
                  35.    The foregoing violations of the ADA constitute per se
17
     violations of the Unruh Act [Cal.Civil Code§ 51(f)].
18

19
                  36.    Plaintiff personally encountered Barriers at the Subject
20   Property and has experienced, difficulty, discomfort or embarrassment or
21   has been reasonably dissuaded or deterred from accessing the Subject
22   Property on particular occasions due to ADA violations which would have
23   actually denied Plaintiff full and equal access if he had attempted to access
24   the Subject Property on those particular occasions.
25
                  37.    Due to the unlawful discrimination set forth above,
26

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28                                            -14-
                                            COMPLAINT
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 1
     Plaintiff has been denied the right and entitlement to full and equal
 2   accommodations, advantages, facilities, privileges or services by the
 3   Defendants at the Subject Property in violation of the Unruh Act.
 4

 5

 6

 7
                               PRAYER FOR RELIEF
 8
           Plaintiff prays to this Court for injunctive, declaratory and all other
 9
     appropriate relief under the ADA and the Unruh Act, including but not
10
     limited to reasonable attorney’s fees, litigation expenses and costs of suit
11
     pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
12
           Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
13
           not seek injunctive relief under the Disabled Persons Act at all.
14
     Respectfully submitted,
15

16
     Dated: 09/28/2020     LAW OFFICES OF ROSS CORNELL, APC
17

18
                                   By: /s/ Ross Cornell
19                                     Ross Cornell, Esq.,
20                                     Attorneys for Plaintiff,
                                       L. Ray Harmon
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28                                        -15-
                                        COMPLAINT
29

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